     Case 5:22-mc-00111 Document 16 Filed on 12/12/22 in TXSD Page 1 of 3




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                              LAREDO DIVISION

IN RE:                           )
                                 )
ASSOCIATED PRESS ET AL.          )               Civil Action No. 5:22-MC-00111
                                 )
_________________________________)

  NOTICE REGARDING COURT’S PROPOSED REDACTIONS TO DOCKET
                    ENTRIES NOS. 7 AND 9

       The government hereby notifies the Court that it does not intend to file objections

to the Court’s Order and Opinion dated November 28, 2022, ECF No. 13. The government

understands that the Court will file redacted versions of Docket Entries Nos. 7 and 9 on the

public docket.

                                       the government respectfully requests that the Court

consider redacting
Case 5:22-mc-00111 Document 16 Filed on 12/12/22 in TXSD Page 2 of 3




                                          Respectfully submitted,

                                          COREY R. AMUNDSON
                                          Chief, Public Integrity Section
                                          U.S. Department of Justice


                                    By:   /s/ Celia Choy
                                          CELIA CHOY
                                          D.C. Bar No. 1017211
                                          Trial Attorney
                                          MARCO A. PALMIERI
                                          D.C. Bar No. 981788
                                          Senior Litigation Counsel
                                          Public Integrity Section
                                          U.S. Department of Justice
                                          1301 New York Avenue, NW
                                          Washington, D.C. 20530
                                          Tel: (202) 514-1412
                                          Fax: (202) 514-3003
                                          celia.choy@usdoj.gov
                                          marco.palmieri@usdoj.gov
     Case 5:22-mc-00111 Document 16 Filed on 12/12/22 in TXSD Page 3 of 3




                            CERTIFICATE OF SERVICE

      I, Celia Choy, certify that on the 12th Day of December, 2022, a redacted copy of

the foregoing was filed electronically using this Court’s CM/ECF system. An unredacted

copy was served on the Court and on counsel for the Associated Press, et al. via email.



Dated: December 12, 2022                        /s/ Celia Choy
                                                CELIA CHOY
